                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

    UNITED STATES OF AMERICA
                                             Case No. 20 CR 637
              v.
                                             Heather K. McShain
    JEREMIAH HARRIS                          Magistrate Judge


                   ORDER OF DETENTION PENDING TRIAL

       Pending before the Court are the government’s motion to detain defendant

Jeremiah Harris pursuant to Title 18, United States Code, Section 3142, based on

danger to the community [19];1 and the defendant’s motion for release from custody

[20]. In accordance with the Bail Reform Act of 1984, 18 U.S.C. § 3141 et seq., a

detention hearing was held in this case pursuant to 18 U.S.C. § 3142(f) to determine

whether there are conditions of release that will reasonably assure the safety of any

other person and the community [24, 25]. This Order is a summary of the Court’s

findings of fact and conclusions of law that were stated more fully on the record

during the detention hearing.

                            Charges Against Defendant

       1.    Defendant has been charged in a complaint with one count of Sexual

Exploitation of Children, in violation of Title 18, United States Code, Section 2251(a).

[1].




1Bracketed numbers refer to entries on the district court docket. Referenced page numbers
are taken from the CM/ECF header placed at the top of filings.
                                     Applicable Law

      2.     As an initial matter, the nature of the alleged conduct triggers a

presumption that no condition or combination of conditions will reasonably assure

the appearance of defendant and the safety of the community. See 18 U.S.C. §

3142(e)(3)(E) (identifying offenses involving a minor victim, including 18 U.S.C. §

2551). Both the government and defense agree that the presumption applies. Because

of this presumption, defendant has the burden of production to come “forward with

some evidence that he will not flee or endanger the community if released. Once this

burden of production is met, the presumption is ‘rebutted’ . . . . the rebutted

presumption is not erased. Instead it remains in the case as an evidentiary finding

militating against release, to be weighed along with other evidence relevant to factors

listed in § 3142(g).” United States v. Dominguez, 783 F.2d 702, 707 (7th Cir. 1986).

While applying the statutory presumption that defendant should remain detained,

the Court is mindful that nothing in this burden shifting process vitiates defendant’s

constitutionally protected right to be presumed innocent. See 18 U.S.C. § 3142(j); see

also United States v. Portes, 786 F.2d 758, 764 (7th Cir. 1985).

                                     Burden of Proof

      3.     The facts supporting a finding that “no condition or combination of

conditions will reasonably assure the safety of any other person and the community

shall be supported by clear and convincing evidence.” See 18 U.S.C. § 3142(f). United

States v. Cox, 1:16-mj-96-MJD, 2016 WL 614333, at *3 (S.D. Ind. Feb. 16, 2016) (citing

United States v. Portes, 786 F.2d 758, 764–65 (7th Cir. 1985)). The facts supporting a



                                          2
finding that no condition or combination of conditions could reasonably assure the

appearance of the defendant as required must establish such finding by a

preponderance of the evidence. Portes, 786 F.2d at 764 (adopting preponderance of

evidence standard in light of “congressional silence” on the issue). In this case, the

government only moves to detain under danger to the community and, as a result, I

do not address risk of flight.

                        Application of Rebuttable Presumption

      4.     In the instant case, the Court finds that this presumption has not been

rebutted as to the defendant’s danger to the community.

      5.     Defendant argues that the presumption in this case is rebutted given

the nature and circumstances of the offense and the history and characteristics of the

defendant. [20] 4. The Court, however, does not find that these factors rebut the

presumption that no condition or set of conditions will reasonably assure the safety

of the community based on the specific facts in this case, and specific consideration of

this defendant for the reasons stated on the record at the detention hearing. The

presumption is premised on the notion that Congress, in creating the rebuttable

presumption, found that certain categories of defendants are more likely to continue

to engage in criminal activity while on release. Dominguez, 783 F.2d at 707. In order

to rebut the presumption, a defendant need not show he is “not guilty of the crime

charged.”2 Id. Rather, a defendant can rebut the presumption by demonstrating that




2The Dominguez court rightfully found error in the detention decision because part of the
district court’s rationale was that the defendants had offered no evidence “to rebut the

                                           3
the “specific nature of the crimes charged,” or “something about [the defendant’s]

individual circumstances suggests that ‘what is true in general is not true in the

particular case[.]’” Id. (quoting United States v. Jessup, 757 F.2d 378, 384 (1st

Cir.1985)). Here, defendant’s community support and lack of criminal history fail to

remove this case from the Congressionally mandated presumption that defendants

charged with the sexual exploitation of children pose an ongoing threat to the safety

of the community. Many cases charging the sexual exploitation of children involve

defendants who have strong social and community ties, stable employment, and no

criminal history. See United States v. Conover, 12-2080, 2012 WL 4846132, at *5

(D.N.J. Oct. 10, 2012) (finding that defendant, who was charged with receipt and

distribution of child pornography under 18 U.S.C. § 2252(a)(2)(A), did not rebut

presumption despite having no criminal history, long-term employment history with

employer willing to continue to employ defendant despite nature of pending charges,

and apparent history as a law-abiding citizen: “Nonetheless, what has recently been

learned strongly weighs in favor of detention. The fact that defendant has been able

to avoid detection for so long evidences his intelligence and cunning.”); United States

v. Becker, 209-cr-141, 2010 WL 566719, at *2 (N.D. Ind. Feb. 12, 2010) (affirming

magistrate judge’s finding that presumption was not rebutted in § 2251(a) case where

defendant had insignificant criminal history, was married with kids, and suitable

custodian was proposed); United States v. Music, 1:07-CR-21-R, 2007 WL 2067057, at




government’s evidence that there is probable cause to believe that they were involved in” the
charged conduct. Dominguez, 783 F.2d at 706.

                                             4
*5 (W.D. Ky. July 16, 2007) (holding that magistrate judge erred in finding that

defendant had rebutted presumption of dangerousness where defendant, charged

with interstate transportation of a minor with intent to engage in criminal sexual

contact, had no prior criminal history and charge did not involve forcible compulsion:

“no prior criminal history does not automatically mandate release”). A lack of

criminal history in this type of case means that defendant has been able to avoid

detection, and underscores how easy it is for this crime to go undetected. Moreover,

while defendant has ties to and support from within the cheer community, it would

be completely contrary to Congress’ intent in applying the presumption to sex crimes

against children if defendant’s ties to the cheer community – the very community

from which he chose his victims and in which his status within that community

assisted him in exploiting his minor victims – could somehow also serve to rebut the

presumption in this case. Nor does the Court find defendant’s other arguments

sufficient to rebut the presumption, for the reasons I articulated on the record during

the detention hearing. Indeed, defendant’s alleged conduct reveals behavior that

defendant cannot or is unwilling to control, the exact type of contact Congress had in

mind when it chose to apply the presumption to violations of 18 U.S.C. § 2251(a). For

all of these reasons and those stated on the record at the detention hearing, the

rebuttable presumption is not rebutted in this case by the reasons offered by the

defendant.

      6.     Even if the Court did find the statutory presumption of detention

rebutted, the Court still finds that defendant should be detained in light of the factors



                                           5
identified at 18 U.S.C. § 3142(g) and discussed further below and on the record at the

detention hearing.

                          Analysis of Statutory Considerations

      7.     The Court finds the statutory factors enumerated in 18 U.S.C. § 3142(g)

support detention of defendant in that the evidence presented before this Court

establishes by clear and convincing evidence that the defendant poses a danger to the

community and that no condition or combination of conditions are available to

mitigate the danger posed. See 18 U.S.C. § 3142(e); Portes, 786 F.2d at 764–65.

      8.     In addition to the reasons I stated on the record at the detention hearing,

the Court also considered the following in considering and analyzing the statutory

factors (see 18 U.S.C. §3142(g)(1) – (4)):

             a.      Considering 18 U.S.C. § 3142(g)(1), the offense of 18 U.S.C. §

2251(a) is a serious offense involving the sexual exploitation of a child, statutorily

identified as one favoring detention in light of the presumption that is triggered.

When Congress amended Section 2251 to enhance its penalties, Congress “repeatedly

stress[ed] that child pornography is a form of sexual abuse which can result in

physical or psychological harm, or both, to the children involved.” United States v.

Gall, No. 13-1266 M, 2013 WL 12192313 at *2 (D.P.R. Nov. 6, 2013) (internal

quotation marks and citations omitted). Congress further “found that where children

are used in its production, child pornography permanently records the victim's abuse,

and its continued existence causes the child victims of sexual abuse continuing harm

by haunting those children in future years.” Id. (internal quotation marks and



                                             6
citations omitted). “Detaining adults who prey on children for sexual gratification or

for the production of child pornography is a legitimate government objective,

supporting pretrial detention.” Id. Given the severity of the harm created by the

violation of Section 2251, Congress has mandated a minimum penalty of 15 years and

a maximum penalty of 30 years of imprisonment for violation of the statute. The

nature and circumstances of the crime as alleged in this case as to this defendant

include five to ten minor victims, a continuous course of criminal conduct that

spanned well over a year, multiple attempts of actual physical contact with the minor

victims, as well as the rape of a fifteen-year-old victim. And, for the reasons stated on

the record at the detention hearing, the Court is unpersuaded by the defendant’s

arguments that the nature and circumstances of the offense do not support detention.

[20] 5-6.3 Accordingly, and as further explained on the record, the nature and

seriousness of the offense support detention.


3   Arguing that this factor does not support detention, defendant asserts in his memorandum:
         When younger children are placed onto teams with older children, they are
         inherently exposed to the older children’s communications, relationships, and
         oftentimes, sexual experiences.
                 In the early years of Mr. Harris’s life, he was fully immersed into the
         “cheer” world where sexual predators were largely unchecked with children of
         all ages. At the time of the purported offense conduct described in the Criminal
         Complaint, Mr. Harris was in most respects a child himself interacting with
         other children.
[20] 5. As the Court explained on the record, I do not find that these assertions mitigate the
nature and circumstances of the offense. Further, to the extent defendant is attempting to
argue that the lines were blurred between adult and minor or that he perceived his alleged
conduct as acceptable due to other unchecked sexual predators, those arguments are belied
by defendant’s actions after learning that he was under investigation in May 2020 for
allegations involving a minor boy. After learning of the investigation, defendant did not stop
his criminal conduct but, rather, he got rid of his cell phone (which contained evidence of his
crimes), obtained a new phone, and recommenced sexually exploiting minors.


                                                7
             b.    Considering 18 U.S.C. § 3142(g)(2), the weight of evidence against

the defendant is overwhelming. The Complaint details significant evidence of

criminal conduct, including the accounts of several victims and the evidence the

victims have provided from their electronic devices. I also note the defendant’s

admissions on September 14, 2020, including that: defendant targeted between five

to ten minor victims (as young as thirteen years old), relentlessly exploiting them to

produce and send sexually explicit photos and videos to defendant (which defendant

at times paid the victims to produce); defendant relentlessly asked the minor victims

to engage in sex acts; defendant raped a fifteen-year old victim in a public restroom

at a cheerleading event; upon being tipped off of the federal investigation in May

2020, defendant dropped his cell phone (containing evidence of his crimes) and

obtained a new cell. And the post-arrest investigation has revealed that after

obtaining that new cell phone, rather than stop, defendant began communicating

again with minor victims and engaging in the same criminal conduct. The weight of

the evidence supports detention.

             c.    At the detention hearing, the court covered the third factor, the

history and characteristics of the defendant under 18 U.S.C. § 3142(g)(3), in detail

and noted the circumstances that weighed in defendant’s favor, as well as those that

supported detention.

             d.    Under the fourth factor at 18 U.S.C. § 3142(g)(4), the nature and

seriousness of any danger posed to individuals in the community strongly supports

detention. When evaluating whether a defendant can be detained as dangerous,



                                          8
evidence that a defendant has been a danger in the past can be considered to the

extent that past conduct suggests the likelihood of future misconduct. Dominguez,

783 F.2d at 707. The Court finds that this defendant’s past conduct does indeed

suggest the likelihood of future misconduct, as explained on the record during the

detention hearing, which include defendant’s relentless pursuit of five to ten victims,

his sexual assault of a minor in an unlocked bathroom at a cheerleading event, and

his actions after learning that he was under investigation in May 2020. As other

courts have found, such “alleged activities are of an addictive sexual nature that

cannot be suppressed simply be a restrictive set of bail conditions.” United States v.

Minnici, 128 Fed. Appx. 827, 829 (2d Cir. 2005); United States v. Santiago-Muniz, No.

3:17-CR-326, 2017 WL 6028347, at *3 (M.D. Pa. Dec. 5, 2017); United States v. Cox,

Cr. No. 07-20544, 2008 WL 94769, at *4 (E.D. Mich. Jan. 9, 2008). For these reasons

and those stated on the record at the detention hearing, defendant’s own history

reflects that he poses a high level of danger to the community.

      9.     Finally, I do not find that the proposed conditions of release – that

include defendant residing at his home under home incarceration with four third-

party custodians present – will reasonably assure the safety of the community. While

home incarceration would alert authorities if defendant attempted to leave the house,

“[a] danger to the community does not only include physical harm or violent

behavior.” Conover, 2012 WL 4846132, at *4; United States v. Schenberger, 498 F.

Supp. 2d 738, 743 (D.N.J. 2007). While I have no doubt that the third-party

custodians would act in good faith to attempt to prevent defendant from accessing the



                                          9
internet by password protecting their internet capable devices and, as defense

counsel suggested, even limit the wi-fi/internet in the house to a hotspot, I find that

the type of monitoring that would be required of this defendant under these

circumstances is virtually impossible. For the reasons already discussed herein and

on the record at the detention hearing, defendant appears to lack control over his

conduct and he managed to conceal his alleged conduct from responsible and well-

intentioned adults within the cheer community for well over a year. He is proficient

in using online technology, he has the financial resources to purchase internet

capable devices, and with the third-party custodians present there will be electronic

devices in the residence. Under circumstances such as these, “[s]everal courts have

recognized the virtual impossibility of controlling access to the internet and other

technologies” and found that no conditions of confinement could reasonably assure

the safety of the community. United States v. Petersen, No. 17-cr-00259-CRB-1/JD,

2017 WL 2179591, at *4 (N.D. Cal. May 17, 2017) (overruling magistrate judge and

denying bond to defendant charged with possession of child pornography where

proposed conditions included home incarceration with father being with defendant

“24 hours a day,” no contact with minors, no access to internet or devices that could

access the internet, and $500,000 secured bond: “While by no means trivial, these

measures are not enough to protect the community. Petersen’s modus operandi was

to induce trust and betray it. Petersen’s commitment to that tactic, and his success

with it, raise insurmountable concerns that he cannot be trusted to adhere to

conditions restricting his behavior. The fact that the conduct underlying the charge



                                          10
against him occurred while he lived in his father’s home substantially undercuts any

assurance that might be derived from his father’s offer to be a full-time custodian.

Aggravating these concerns is the undisputed fact that Petersen is adept and skillful

in using the internet and other technology.”); United States v. Valerio, 9 F. Supp. 3d

283, 294 (E.D.NY. 2014) (“As part of his bail package, defendant agrees to not possess,

much less use or access, a computer or other internet-capable device, and agrees to

unannounced searches of the house and all persons therein. Under the circumstances

of this case, however, the Court finds these conditions are difficult, if not impossible,

to enforce, and otherwise insufficient to assure the safety of the community. Even

with the presence of a guard inside the home at all times and the taking of steps to

prevent electronic devices from being in the house, there is no way to ensure the full

monitoring of defendant’s activities. Computers, mobile phones, tablets, etc.—the

type of instrumentalities allegedly used to commit the crimes—are ubiquitous and

easy to procure or hide, and increasingly even the lowest-level devices have internet

functionality.”); Conover, 2012 WL 4846132 at *7 (rejecting bond condition that

defendant, charged with possession of child pornography, would agree not to possess

devices that would access the internet: “Access to the internet is possible through

desktop and laptop computers, phones, game consoles, WIFI, hot spots, etc. Given

defendant’s computer expertise, and his background and character, the Court is not

persuaded that meaningful assurances can be given that his prohibited conduct can

be stopped”); Schenberger, 498 F. Supp. 2d at 744-45 (detaining defendant charged

with possession and distribution of child pornography: “Although defendant will



                                           11
agree not to use or access a computer, this condition is release is difficult to enforce.

‘The ubiquitous presence of the internet and the all-encompassing nature of the

information it contains are too obvious to require extensive citation or discussion.’”)

(citing United States v. Voelker, 489 F.3d 139, 145 (3d Cir. 2007)); United States v.

Brown, Nos. M-2-07-290, CR2-08-106, 2008 WL 2098070, at *5 (S.D. Ohio May 16,

2008) (overturning magistrate judge’s release order of defendant charged with

shipping, receiving, and possession of child pornography: “[E]ven electronic

monitoring and home detention do not adequately address Brown’s ability to access

phones or computers in his mother’s home even if steps were taken to try to prevent

those items from being present or available in the house.”); United States v. Reiner,

468 F. Supp. 2d 393, 398 (E.D.N.Y. 2006) (overturning magistrate judge’s decision to

release on bond defendant charged with possession of child pornography: “Even if the

Court were to order electronic monitoring and home detention of the defendant

pending trial, that condition would not adequately address his ability to access

phones or computers in his home which could be used for the types of illicit activities

described above, even if steps were taken to try to prevent those items from being

present or available in the house. In this day and age, with devices such as cellphones,

Blackberries, and laptops, there are no conditions which can reasonably assure the

safety of the community under the particular circumstances of this case if the

defendant is released on bail.”). This Court finds the reasoning of these other

decisions to be persuasive and it reaches the same conclusion in this case. Because

the government has presented substantial evidence that defendant has committed



                                           12
his crimes through the use of technology, and because the ability to completely limit

defendant’s access to technology while on release does not exist, the Court finds that

defendant’s release would pose a significant danger to the community.

      10.    In summary of the above, in addition to those stated on the record at the

detention hearing, these 3142(g) factors weigh strongly in favor of detention even if

the statutory presumption of detention did not apply. The Court thus concludes that

there is clear and convincing evidence that the defendant would be a danger to the

community if released. Further, as noted above and on the record at the detention

hearing, the Court further finds that none of the offered conditions or combination of

conditions of release will reasonably assure “the safety of any other person and the

community.” See 18 U.S.C. § 3142(e).

      IT IS HEREBY ORDERED, pursuant to Title 18, United States Code, Section

3142(e)(3), that defendant shall remain in custody until further order of the Court or

resolution of this case.

      IT IS FURTHER ORDERED that Defendant shall be afforded reasonable

opportunity for private consultation with his counsel.




                                         13
      IT IS FURTHER ORDERED that upon order of the United States District

Court or on request of an attorney of the government, the Warden of the facility

housing Defendant shall deliver Defendant to a United States Marshal for the

purpose of an appearance in connection with a court proceeding.




                                             HEATHER K. McSHAIN
                                             United States Magistrate Judge

DATE: October 19, 2020.




                                        14
